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                           UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF NEW YORK

 In re

 CUSTOMS AND TAX ADMINISTRATION
 OF THE KINGDOM OF DENMARK                                       MASTER DOCKET
 (SKATTEFORVALTNINGEN) TAX
 REFUND SCHEME LITIGATION                                         18-md-2865 (LAK)

 This document relates to: 1:18-cv-05374; 1:18-
 cv-08655



       NOTICE OF THIRD-PARTY PLAINTIFFS/COUNTERCLAIM-DEFENDANTS
     MOTION TO DISMISS ED&F MAN CAPITAL MARKETS LTD.’S AMENDED
                          COUNTERCLAIMS

         PLEASE TAKE NOTICE that, upon the accompanying Memorandum of Law, dated

May 18, 2020, and the Declaration of Eric Smith, dated May 18, 2020, with all exhibits thereto,

Third-Party Plaintiffs and Defendants-in-Counterclaim Del Mar Asset Management Savings and

Retirement Plan and Federated Logistics LLC 401(K) Plan (together, the “Plans”), by its

undersigned attorneys, will move the Court before the Honorable Lewis A. Kaplan at the Daniel

Patrick Moynihan United Sates Courthouse, 500 Pearl Street, New York, New York, Courtroom

21B, at a time and date to be determined by the Court, for an order pursuant to Rule 12(b)(6) of

the Federal Rules of Civil Procedure dismissing Third-Party Defendant and Counterclaimant

ED&F Man Capital Markets Ltd.’s Amended Counterclaims (Dkt. No. 326) with prejudice, and

for such other and further relief as the Court deems just and proper. The Plans respectfully request

that the Court hold oral argument regarding this Motion.
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Dated: New York, New York
       May 18, 2020             Respectfully submitted,

                                KOSTELANETZ & FINK LLP


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                                Attorneys for Defendants / Third-Party Plaintiffs
                                Del Mar Asset Management Savings and
                                Retirement Plan and Federated Logistics
                                LLC 401(K) Plan




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